     Case 2:20-cv-01797-SPL       Document 5       Filed 09/21/20   Page 1 of 46




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12
                               UNITED STATES DISTRICT COURT
13
                                   DISTRICT OF ARIZONA
14
15   Daniel Borteanu, Individually and on Behalf       No. 2:20-cv-01797-PHX-JZB
     of All Others Similarly Situated,
16                                                      AMENDED CLASS ACTION
17                Plaintiff,                               COMPLAINT FOR
                                                          VIOLATIONS OF THE
18          v.                                         FEDERAL SECURITIES LAWS
19
     Nikola Corporation; Trevor R. Milton; Steve                CLASS ACTION
20   Girsky; Steve Shindler; Mark A. Russell;
21   and Kim J. Brady,                                  (DEMAND FOR JURY TRIAL)

22                Defendants.
23
24
25         Plaintiff Daniel Borteanu (“Plaintiff”), individually and on behalf of all other
26   persons similarly situated, by Plaintiff’s undersigned attorneys, alleges the following
27   based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and upon
28   information and belief as to all other matters based on the investigation conducted by and


                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL          Document 5      Filed 09/21/20    Page 2 of 46




 1   through Plaintiff’s attorneys, which included, among other things, a review of U.S.
 2   Securities and Exchange Commission (“SEC”) filings by Nikola Corporation (“Nikola”
 3   or the “Company”), as well as media and analyst reports about the Company and Company
 4   press releases. Plaintiff believes that substantial additional evidentiary support will exist
 5   for the allegations set forth herein.
 6                                  NATURE OF THE ACTION
 7           1.      Plaintiff brings this securities class action on behalf of persons who
 8   purchased the securities of Nikola f/k/a VectoIQ Acquisition Corp. (“VectoIQ”) between
 9   March 3, 2020 and September 20, 2020, inclusive (the “Class Period”). Plaintiff seeks to
10   recover compensable damages caused by Defendants’ violations of the federal securities
11   laws under the Securities Exchange Act of 1934 (the “Exchange Act”).
12                                 JURISDICTION AND VENUE
13           2.      The claims asserted herein arise under and pursuant to Sections 10(b) and
14   20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated
15   thereunder by the SEC (17 C.F.R. § 240.10b-5).
16           3.      This Court has jurisdiction over the subject matter of this action pursuant to
17   28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).
18           4.      This Court has jurisdiction over each defendant named herein because each
19   defendant has sufficient minimum contacts with this judicial district so as to render the
20   exercise of jurisdiction by this Court permissible under traditional notions of fair play and
21   substantial justice. The Company is also headquartered in this district.
22           5.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and
23   Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged misstatements entered
24   and the subsequent damages took place in this judicial district and the Company is based
25   in this district.
26           6.      In connection with the acts, conduct and other wrongs alleged in this
27   complaint, Defendants, directly or indirectly, used the means and instrumentalities of
28   interstate commerce, including but not limited to, the United States mails, interstate
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                    AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                           OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5       Filed 09/21/20    Page 3 of 46




 1   telephone communications and the facilities of a national securities exchange. Defendants
 2   disseminated the statements alleged to be false and misleading herein into this district, and
 3   Defendants solicited purchasers of Nikola securities in this district.
 4                                           PARTIES
 5           7.    Plaintiff, as set forth in the accompanying Certification, purchased the
 6   Company’s securities at artificially inflated prices during the Class Period and was
 7   damaged upon the revelation of the alleged corrective disclosure.
 8           8.    Defendant Nikola purports to operate as an integrated zero emissions
 9   transportation systems provider which designs and manufactures battery-electric and
10   hydrogen-electric vehicles, electric vehicle drivetrains, vehicle components, energy
11   storage systems, and hydrogen fueling station infrastructure. Defendant Nikola is
12   incorporated in Delaware and maintains its principal executive offices at 4141 E.
13   Broadway Road, Phoenix, Arizona 85040. The merger of VectoIQ and Nikola closed on
14   June 3, 2020. The Company’s shares are listed on NASDAQ under the ticker symbol
15   “NKLA” and formerly traded under the ticker symbol “VTIQ” until the merger in June
16   2020.
17           9.    Defendant Trevor R. Milton (“Milton”) is the founder of Nikola and served
18   as Executive Chairman and a Director of Nikola during the Class Period until September
19   20, 2020. Defendant Milton has over 100,000 Twitter followers for his account
20   @nikolatrevor and tweets frequently about the Company.
21           10.   Defendant Steve Girsky (“Girsky”) served as the Chief Executive Officer of
22   VectoIQ during the Class Period until the merger in June 2020. Following the merger,
23   Defendant Girsky has served as a Director of Nikola and since September 20, 2020, has
24   served as the Chairman of the Board of Directors of the Company.
25           11.   Defendant Steve Shindler (“Shindler”) served as the Chief Financial Officer
26   of VectoIQ during the Class Period until the merger in June 2020.
27           12.   Defendant Mark A. Russell (“Russell”) has served as the Chief Executive
28   Officer of Nikola since June 2020 and as the President of Nikola since February 2019.
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                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL           Document 5      Filed 09/21/20     Page 4 of 46




 1   Defendant Russell is also a Director of Nikola.
 2          13.    Defendant Kim J. Brady (“Brady”) has served as the Chief Financial Officer
 3   of Nikola since November 2017.
 4          14.    Defendants Milton, Girsky, Shindler, Russell, and Brady are collectively
 5   referred to herein as the “Individual Defendants.”
 6          15.    Each of the Individual Defendants:
 7                 (a)        directly participated in the management of the Company;
 8                 (b)        was directly involved in the day-to-day operations of the Company
 9   at the highest levels;
10                 (c)        was privy to confidential proprietary information concerning the
11   Company and its business and operations;
12                 (d)        was directly or indirectly involved in drafting, producing, reviewing
13   and/or disseminating the false and misleading statements and information alleged herein;
14                 (e)        was directly or indirectly involved in the oversight or implementation
15   of the Company’s internal controls;
16                 (f)        was aware of or recklessly disregarded the fact that the false and
17   misleading statements were being issued concerning the Company; and/or
18                 (g)        approved or ratified these statements in violation of the federal
19   securities laws.
20          16.    The Company is liable for the acts of the Individual Defendants and its
21   employees under the doctrine of respondeat superior and common law principles of
22   agency because all of the wrongful acts complained of herein were carried out within the
23   scope of their employment.
24          17.    The scienter of the Individual Defendants and other employees and agents
25   of the Company is similarly imputed to the Company under respondeat superior and
26   agency principles.
27          18.    The Company and the Individual Defendants are referred to herein,
28   collectively, as the “Defendants.”
                                         4
                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL       Document 5       Filed 09/21/20   Page 5 of 46




 1                              SUBSTANTIVE ALLEGATIONS
 2                        Materially False and Misleading Statements
 3          19.    On March 3, 2020, Nikola issued a press release, attached to VectoIQ's 8-K
 4   filing with the SEC the same day, entitled “Nikola Corporation, a Global Leader in Zero
 5   Emissions Transportation Solutions, to Be Listed on NASDAQ Through a Merger With
 6   VectoIQ” which quoted Defendants Milton and Girsky stating the following, in relevant
 7   part, regarding the Company’s capabilities:
 8
            Trevor Milton, Founder and CEO of Nikola stated: “We are on a roll. You
 9          couldn’t ask for better news for the energy and tech industry. The world is
            transitioning to zero emission platforms and Nikola is the leader for heavy
10          duty vehicles. We believe we have a differentiated business model built on
11          economics, not government subsidies. We now need to double down and
            speed up the timelines and get to market. We couldn’t be happier to have
12          Steve Girsky join our board.”
13
            “In our two-year quest to find a partner that was a proven technology
14          leader and focused on making a global difference, Nikola was the clear
15          winner,” said Stephen Girsky, CEO of VectoIQ and former Vice Chairman
            of General Motors Corporation. “Nikola’s vision of a zero-emission future
16          and ability to execute were key drivers in our decision.”
17          (Emphasis added.)
18          20.    In connection with the merger announcement, Nikola released an investor
19   presentation on March 3, 2020, attached to VectoIQ's 8-K filing with the SEC the same
20   day, which, among other things, included the following slides, which touted Defendant
21   Milton’s experience in the clean energy and technology field and the Company’s hydrogen
22   production capabilities:
23
24
25
26   .      .      .
27   .      .      .
28   .      .      .
                                        5
                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL   Document 5   Filed 09/21/20   Page 6 of 46




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                AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                       OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5      Filed 09/21/20     Page 7 of 46




 1          21.    On March 6, 2020, VectoIQ filed its yearly report on Form 10-K with the
 2   SEC for the quarter ended December 31, 2019 (the “2019 Annual Report”). The 2019
 3   Annual Report was signed by Defendants Girsky and Shindler. Attached to the 2019
 4   Annual Report, via a 10-K/A filed April 15, 2020, were certifications pursuant to the
 5   Sarbanes-Oxley Act of 2002 (“SOX”) signed by Defendants Girsky and Shindler attesting
 6   to the accuracy of the financial statements and the disclosure of all fraud.
 7          22.    The 2019 Annual Report stated that its “Business Combination Criteria”
 8   was as follows:
 9          Consistent with our strategy, we have identified the following general criteria
10          and guidelines that we believe are important in evaluating prospective target
            businesses and, in evaluating a prospective target business, we expect to
11          conduct a thorough due diligence review that will encompass, among other
12          things, meetings with incumbent management and employees, document
            reviews and inspection of facilities, as applicable, as well as a review of
13          financial and other information that will be made available to us. We
            intend to use these criteria and guidelines in evaluating acquisition
14
            opportunities, but we may decide to enter into our initial business
15          combination with a target business that does not meet these criteria or
            guidelines.
16
17          ꞏ Focus on industrial technology, transportation and smart mobility business
            positioned to benefit from our management team's extensive experience and
18          contacts in these sectors. We believe our strategy leverages our management
19          team's distinctive background and vast network of industry leaders in the
            target industry.
20          ꞏ Emphasis on companies that can benefit from a public listing and access to
21          the public capital markets. We will primarily seek a target that we believe
            will benefit from being publicly traded and will be able to effectively utilize
22          the broader access to capital and the public profile that are associated with
23          being a publicly traded company.
            ꞏ We will target businesses that are market leaders, with established
24          technologies and attractive financial metrics and/or prospects, where we
            believe that our industry expertise and relationships can be used to create
25
            opportunities for value creation, whether for acquisitions, capital investments
26          in organic growth opportunities or in generating greater operating
            efficiencies. While this may include business with a history of revenue
27          growth and profitability, we may also target businesses that are
28
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                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5      Filed 09/21/20    Page 8 of 46




           underperforming that that we believe can benefit from our expertise and/or
 1
           technology.
 2         ꞏ We intend to seek target businesses that have established management
           teams, but that we believe could benefit from the industry experience and
 3         contacts of our management. . . .
 4
           These criteria are not intended to be exhaustive. Any evaluation relating to
 5         the merits of a particular initial business combination may be based, to the
 6         extent relevant, on these general guidelines as well as other considerations,
           factors and criteria that our management team may deem relevant. In the
 7         event that we decide to enter into our initial business combination with a
 8         target business that does not meet the above criteria and guidelines, we will
           disclose that the target business does not meet the above criteria in our
 9         stockholder communications related to our initial business combination,
10         which, would be in the form of proxy solicitation materials or tender offer
           documents that we would file with the SEC.
11
12         (Emphasis added.)
13         23.    The 2019 Annual Report also stated the following regarding the “Selection
14   of a Target Business and Structuring of a Business Combination”:
15
           In evaluating a prospective target business, our management may consider
16         a variety of factors, including one or more of the following:
17         ꞏ financial condition and results of operation;
18         ꞏ growth potential;
           ꞏ brand recognition and potential;
19         ꞏ experience and skill of management and availability of additional
20         personnel;
           ꞏ capital requirements;
21         ꞏ competitive position;
22         ꞏ barriers to entry;
           ꞏ stage of development of the products, processes or services;
23         ꞏ existing distribution and potential for expansion;
           ꞏ degree of current or potential market acceptance of the products,
24
           processes or services;
25         ꞏ proprietary aspects of products and the extent of intellectual property or
           other protection for products or formulas;
26         ꞏ impact of regulation on the business;
27         ꞏ regulatory environment of the industry;
           ꞏ costs associated with effecting the business combination;
28
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                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL       Document 5      Filed 09/21/20     Page 9 of 46




           ꞏ industry leadership, sustainability of market share and attractiveness of
 1
           market industries in which a target business participates; and
 2         ꞏ macro competitive dynamics in the industry within which the company
           competes.
 3
 4         These criteria are not intended to be exhaustive. Any evaluation relating to
           the merits of a particular business combination will be based, to the extent
 5         relevant, on the above factors as well as other considerations deemed relevant
 6         by our management in effecting a business combination consistent with our
           business objective. In evaluating a prospective target business, we will
 7         conduct an extensive due diligence review which will encompass, among
 8         other things, meetings with incumbent management and inspection of
           facilities, as well as review of financial and other information which is
 9         made available to us. This due diligence review will be conducted either by
           our management or by unaffiliated third parties we may engage, although we
10
           have no current intention to engage any such third parties.
11
12         (Emphasis added.)
13         24.    On March 13, 2020, VectoIQ filed with the SEC a prospectus on Form S-4
14   signed by Defendants Milton and Girsky. On April 15, 2020, May 1, 2020, and May 5,
15   2020, VectoIQ filed revised versions of the prospectus for the merger on Forms S-4/A.
16   On May 8, 2020, VectoIQ issued a Proxy Statement with the SEC on Form 424(b)(3)
17   which was signed by Defendants Milton and Girsky. The Proxy Statement stated the
18   following as “VectoIQ’s Board of Directors’ Reasons for Approval of the Business
19   Combination”:
20
           As described under "The Background of the Business Combination" above,
21         VectoIQ's board of directors, in evaluating the Business Combination,
           consulted with VectoIQ's management and financial and legal advisors. In
22         reaching its unanimous decision to approve the Business Combination
23         Agreement and the transactions contemplated by the Business Combination
           Agreement, VectoIQ's board of directors considered a range of factors,
24         including, but not limited to, the factors discussed below. In light of the
25         number and wide variety of factors considered in connection with its
           evaluation of the combination, VectoIQ's board of directors did not consider
26         it practicable to, and did not attempt to, quantify or otherwise assign relative
27         weights to the specific factors that it considered in reaching its determination
           and supporting its decision. VectoIQ's board of directors viewed its decision
28         as being based on all of the information available and the factors presented
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                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5      Filed 09/21/20     Page 10 of 46




           to and considered by it. In addition, individual directors may have given
 1
           different weight to different factors.
 2
           This explanation of VectoIQ's reasons for the combination and all other
 3         information presented in this section is forward-looking in nature and,
 4         therefore, should be read in light of the factors discussed under the section
           titled "Cautionary Note Regarding Forward-Looking Statements."
 5
 6         In approving the combination, VectoIQ's board of directors determined not
           to obtain a fairness opinion. The officers and directors of VectoIQ have
 7         substantial experience in evaluating the operating and financial merits of
 8         companies from a wide range of industries and concluded that their
           experience and background, together with experience and sector expertise of
 9         Cowen, enabled them to make the necessary analyses and determinations
           regarding the Business Combination.
10
11         VectoIQ's board of directors considered a number of factors pertaining to the
           Business Combination as generally supporting its decision to enter into the
12
           Business Combination Agreement and the transactions contemplated
13         thereby, including, but not limited to, the following:
14         • Highly Disruptive Technology. VectoIQ's management and board of
15         directors believe that Nikola is a market disruptor in an attractive and
           growing industry with over 70 patents issued or pending and strong growth
16         prospects within the hydrogen fuel, BEV and FCEV sectors as well as
17         adjacent markets;

18         • Strategic Partnerships. VectoIQ's management and board of directors
19         considered Nikola's strategic partnerships with industry leaders, which it
           believes reduce Nikola's technology and execution risk from truck and
20         hydrogen station development to truck sales and maintenance;
21
           • High Demand for Product. VectoIQ's management and board of directors
22         considered the fact that Nikola has a high volume of fuel cell electric vehicle
           pre-orders, currently at over $10 billion, as well as contracts with top tier
23         customers with investment-grade credit ratings;
24
           • Platform Supports Further Growth Initiatives. VectoIQ's management and
25         board of directors believe that Nikola's business model uniquely supplies
26         both the truck and hydrogen fueling infrastructure, solving the fleets'
           concerns as to where to refuel with green hydrogen at competitive pricing to
27         diesel;
28
                                       10
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5     Filed 09/21/20    Page 11 of 46




           • Due Diligence. VectoIQ's management and board of directors conducted
 1
           due diligence examinations of Nikola and discussions with Nikola's
 2         management and VectoIQ's financial and legal advisors concerning
           VectoIQ's due diligence examination of Nikola;
 3
 4         • Financial Condition. VectoIQ's board of directors also considered factors
           such as Nikola's outlook, financial plan and debt structure, as well as
 5         valuations and trading of publicly traded companies and valuations of
 6         precedent combination and combination targets in similar and adjacent
           sectors (see "—Certain Nikola Projected Financial Information");
 7
 8         • Attractive Market Valuation of Comparable Companies. The public trading
           market valuation of comparable "future transportation" companies
 9         (consisting of NIO, Tesla and Virgin Galactic, which we refer to collectively
           as the "Comparable Future Transportation Companies") have expected 2020
10
           enterprise value/revenue multiples and enterprise value/EBITDA multiples
11         (in each case based on market data as of February 28, 2020) ranging from
           3.3x to 650+x (and a median of 4.0x) and up to 29.5x, respectively. The
12
           public trading market valuation of comparable fuel cell technology
13         companies (consisting of Ballard, Bloom Energy, Nel and Plug Power, which
           we refer to collectively as the "Comparable Fuel Cell Technology
14         Companies") have expected 2020 enterprise value/revenue multiples and
15         enterprise value/EBITDA multiples (in each case based on market data as of
           February 28, 2020) ranging from 1.7x to 14.7x (and a median of 9.5x) and
16         up to 77.3x (and a median of 47.8x), respectively. . . . For example, when
17         applying the median 2020 enterprise value/revenue multiple for the
           Comparable Fuel Cell Technology Companies of 9.5x to Nikola's 2024
18         projected revenue, the initial market valuation of the post-Business
19         Combination company implies a 67.6% annual discount rate from December
           31, 2024 to June 30, 2020. Since Nikola's business is not expected to achieve
20         scale until 2024, the VectoIQ board of directors believes this present value
           methodology is the most reasonable method of comparison. Although this
21
           analysis is based on the current Nikola projections, the valuation multiples
22         decline each year as a result of the high growth projected for Nikola's
           business;
23
24         • Experienced and Proven Management Team. VectoIQ's management
           and board of directors believe that Nikola has a strong management team
25         which is expected to remain with the combined company to seek to execute
26         Nikola's strategic and growth goals;

27         (Emphasis added.)
28
                                       11
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5       Filed 09/21/20   Page 12 of 46




 1         25.    The Proxy Statement also stated the following, in pertinent part, regarding
 2   VectoIQ’s due diligence:
 3         During the week of November 25, 2019, members of the management
 4         teams from both companies met at Nikola's' headquarters in Phoenix,
           Arizona to enable VectoIQ's management to learn more about Nikola's
 5         current and planned business. Throughout the week the management teams
 6         also held calls to discuss scheduling for continued due diligence meetings as
           well as a timeline for a potential combination. During this period, VectoIQ
 7         assembled a number of industry experts to advise with respect to vehicle
           development, electrification, fuel cells, software, connectivity and
 8
           manufacturing in connection with its due diligence efforts.
 9
           During the week of December 2, 2019, representatives of VectoIQ and
10
           Nikola held a technical due diligence call and VectoIQ had discussions with
11         industry experts on commercial conditions in the Class 8 Hydrogen and
           Electrification markets.
12
13         (Emphasis added.)
14         26.    The Proxy Statement stated the following, in pertinent part, regarding
15   Nikola’s hydrogen production capabilities:
16
           Q. Who is Nikola?
17
           A. Nikola is a vertically integrated zero-emissions transportation solution
18         provider that designs and manufactures state-of-the-art battery-electric
19         and hydrogen fuel cell electric vehicles, electric vehicle drivetrains, energy
           storage systems, and hydrogen fueling stations. Nikola's core product
20         offering is centered around its battery-electric vehicle ("BEV") and hydrogen
21         fuel cell electric vehicle ("FCEV") Class 8 semi-trucks. The key
           differentiator of Nikola's business model is its planned network of hydrogen
22         fueling stations. Nikola is offering a revolutionary bundled lease model,
23         which provides customers with the FCEV truck, hydrogen fuel, and
           maintenance for a fixed price per mile, locks in fuel demand and significantly
24         de-risks infrastructure development. See "Information About Nikola."
25
                                          *       *     *
26
           First Test Station Installed at Nikola's Phoenix HQ
27
28
                                        12
                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5       Filed 09/21/20   Page 13 of 46




            Through our partnership with Nel ASA, a Norwegian hydrogen company
 1
            ("Nel"), we have initiated the development of the hydrogen station
 2          infrastructure by completing our first 1,000 kg demo station in the first
            quarter of 2019 at our corporate headquarters in Phoenix, Arizona. The
 3          demo hydrogen station offers hydrogen storage and dispensing and serves
 4          as a model for future hydrogen stations.
 5                                           *      *      *
 6
            1. DESCRIPTION OF BUSINESS AND BASIS OF PRESENTATION
 7
 8          Nikola Corporation ("Nikola" or the "Company") is a designer and
            manufacturer of battery-electric and hydrogen-electric vehicles, electric
 9          vehicle drivetrains, vehicle components, energy storage systems, and
10          hydrogen stations.

11          The Company is also developing a network of hydrogen fueling stations to
            meet hydrogen fuel demand for its customers. Fueling related activities will
12
            be conducted through the Company's wholly-owned subsidiary, Nikola
13          Energy.
14          (Emphasis added.)

15          27.    The Proxy Statement stated the following, in pertinent part, regarding
16   Nikola’s “in-house” designing, manufacturing, and testing capabilities:
17
            In June 2019, Nikola moved into our state-of-the-art headquarters and R&D
18          facility in Phoenix, Arizona, which consists of more than 150,000 square feet
19          and where we are capable of designing, building, and testing prototype
            vehicles in-house.
20
21          (Emphasis added.)
22          28.    The Proxy Statement touted Defendant Milton’s experience and abilities,
23   stating the following as a risk, in pertinent part:
24
            We are highly dependent on the services of Trevor R. Milton, our Chief
25          Executive Officer.
26
            We are highly dependent on the services of Trevor R. Milton, Chief
27          Executive Officer, and largest stockholder. Mr. Milton is the source of
            many, if not most, of the ideas and execution driving Nikola. If Mr. Milton
28
                                         13
                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL       Document 5     Filed 09/21/20    Page 14 of 46




            were to discontinue his service to us due to death, disability or any other
 1
            reason, we would be significantly disadvantaged.
 2
 3          (Emphasis added.)

 4          29.    On May 15, 2020, Defendant Milton tweeted the following regarding
 5   Nikola’s capabilities:
 6
            I laugh when articles say Nikola is all talk. 300+ mile battery and 500+ mile
 7          fuel cell to be produced by @nikolamoto& @IVECO. These are real. Our
            tech is years ahead. Production starts next year & Factory being prepped
 8          now in Germany. Watch while others follow the boss. [Emoji and images
 9          omitted.]     https://twitter.com/nikolatrevor/status/1261306736528388098;
            https://web.archive.org/web/20200917184924/https://twitter.com/nikolatrev
10          or/status/1261306736528388098.
11          (Emphasis added.)
12          30.    On June 6, 2020, Defendant Milton tweeted the following regarding
13   Nikola's in-house capabilities: “All the technology, software, controls, E axle, inverters
14   etc we do internally. We joint venture with those that know the supply chain and
15   manufacturing like Iveco. We outsource autonomy. We outsource hardware
16   production.” https://twitter.com/nikolatrevor/status/1269255746434158599; https://web.
17   archive.org/web/20200917185017/https://twitter.com/nikolatrevor/status/126925574643
18   4158599. (Emphasis added.)
19          31.    On July 1, 2020, Defendant Milton tweeted the following regarding Nikola's
20   in-house capabilities:
21
            We don't make the cells. We make the entire pack like the top guys do. We
22          do have an OEM making our truck but all internals are Nikola's IP;
23          batteries, inverters, software, ota, infotainment, controls, etc. We own it
            all    in house. Just not the plant to build the truck
24          https://twitter.com/nikolatrevor/status/1278362710074220544; https://web.
            archive.org/web/20200917185109/https://twitter.com/nikolatrevor/status/12
25
            78362710074220544.
26
            (Emphasis added.)
27
28
                                        14
                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL           Document 5   Filed 09/21/20    Page 15 of 46




 1          32.    On July 5, 2020, Defendant Milton tweeted the following regarding Nikola's
 2   in-house capabilities stating:
 3
           “I'm talking about stuff that has no value; cabs, windows, seats or seat belts or
 4         ac units. All major components are done in house; batteries, inverters,
           software, controls,infotainment, over the air, etc, you don't care about
 5         the truth you're just out to be a keyboard warrior.”
 6         https://twitter.com/nikolatrevor/status/1279673731435159556; https://web.
           archive.org/web/20200917185206/https://twitter.com/nikolatrevor/status/12
 7         79673731435159556.
 8
           (Emphasis added.)
 9
10          33.    On July 15, 2020, Defendant Milton tweeted a video and the following:
11
            0-60 in under 5 seconds in the #nikolatwo hydrogen semi truck. Damn
12          that was fast! . Edited / professional content coming soon for everyone
13          but here's my raw cell phone behind the scene. https://twitter.com/nikola
            trevor/status/1283425947199221761?s=20; https://web.archive.org/web/20
14          200917194819/https://twitter.com/nikolatrevor/status/12834259471992217
15          61?s=20.

16          Yeah, we'll be posting Go Pro video that's being edited, etc . Be up soon
            showing 0-60 camera time, outside view and also side by side against a diesel
17
            truck. This is just a teaser shot https://twitter.com/nikolatrevor/status/12834
18          29144970158080; https://web.archive.org/web/20200917185655/https://
            twitter.com/nikolatrevor/status/1283429144970158080.
19
20          Actually around 5 seconds. That's 10 seconds to hit 60 and slow down.
            Around that time, exact timing to be shown in the edited videos coming out
21          next month. Side by side diesel comparison, etc. https://twitter.com/nikola
22          trevor/status/1283430654395314176; https://web.archive.org/web/2020091
            7185809/https://twitter.com/nikolatrevor/status/1283430654395314176.
23
24          (Emphasis added.)

25          34.    On July 22, 2020, Defendant Milton tweeted the following regarding
26   Nikola's Tre model trucks:
27
            We break ground on our factory tomorrow. We have 5 units coming off
28          assembly line now in Ulm Germany. We will be first to market with 300+
                                         15
                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5       Filed 09/21/20   Page 16 of 46




            mile BEV. Say something nice, do your research or don't comment. [Emoji
 1
            omitted.] https://twitter.com/nikolatrevor/status/1285999780473135104/;
 2          https://web.archive.org/web/20200917185404/https://twitter.com/nikolatrev
            or/status/1285999780473135104.
 3
 4          We are breaking ground on our factory tomorrow bud. 5 Units coming off
            assembly lines in Germany for testing and we'll be first to market with a
 5          300+ mile BEV. At least be objective. Give props when due.
 6          https://twitter.com/nikolatrevor/status/1286008500443701248; https://web.
            archive.org/web/20200917185259/https://twitter.com/nikolatrevor/status/12
 7          86008500443701248.
 8
            (Emphasis added.)
 9
10          35.    On August 4, 2020, Nikola filed its quarterly report on Form 10-Q with the
11   SEC for the quarter ended June 30, 2020 (the “2Q20 Report”). The 2Q20 Report was
12   signed by Defendants Russell and Brady. Attached to the 2019 Annual Report were
13   certifications pursuant to SOX signed by Defendants Russell and Brady attesting to the
14   accuracy of the financial statements and the disclosure of all fraud.
15          36.    The 2Q20 Report touted Defendant Milton’s experience and abilities,
16   stating the following as a risk, in pertinent part:
17
            We are highly dependent on the services of Trevor R. Milton, our Executive
18          Chairman.
19          We are highly dependent on the services of Trevor R. Milton, our Executive
20          Chairman, and largest stockholder. Mr. Milton is the source of many, if not
            most, of the ideas and execution driving Nikola. If Mr. Milton were to
21          discontinue his service to us due to death, disability or any other reason, we
22          would be significantly disadvantaged.

23          (Emphasis added.)
24          37.    The 2Q20 Report stated the following, in pertinent part, regarding the
25   Company’s hydrogen capabilities:
26
27   .      .      .
28   .      .      .
                                         16
                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL       Document 5       Filed 09/21/20     Page 17 of 46




            Overview
 1
 2          We are a vertically integrated zero emissions transportation systems
            provider that designs and manufactures state of the art battery electric and
 3          hydrogen electric vehicles, electric vehicle drivetrains, energy storage
 4          systems, and hydrogen fueling stations. To date, we have been primarily
            focused on delivering zero emission Class 8 trucks to the commercial
 5          transportation sector in the U.S. and in Europe. Our core product offering
 6          includes battery electric and hydrogen fuel cell electric trucks and hydrogen
            fuel.
 7
 8          (Emphasis added).
 9          38.    On August 13, 2020, Defendant Milton tweeted the following regarding
10   Nikola's hydrogen production capabilities: “We currently make our own green H2 for
11   under $4 / kg. We are open to others down the road but we have our stations going up and
12   need to focus on completing ours first. Then we can work with others as we expand.”
13   https://twitter.com/nikolatrevor/status/1294075433407791104; https://web.archive.org/
14   web/20200917185504/https://twitter.com/nikolatrevor/status/1294075433407791104.
15          39.    The statements referenced in ¶¶ 19-38 above were materially false and/or
16   misleading because they misrepresented and failed to disclose the following adverse facts
17   pertaining to the Company’s business, operational and financial results, which were
18   known to Defendants or recklessly disregarded by them. Specifically, Defendants made
19   false and/or misleading statements and/or failed to disclose that: (1) VectoIQ did not
20   engage in proper due diligence regarding its merger with Nikola; (2) Nikola overstated its
21   “in-house” design, manufacturing, and testing capabilities; (3) Nikola overstated its
22   hydrogen production capabilities; (4) as a result, Nikola overstated its ability to lower the
23   cost of hydrogen fuel; (5) Defendant Milton tweeted a misleading “test” video of the
24   Company’s Nikola Two truck; (6), the work experience and background of key Nikola
25   employees, including Defendant Milton, had been overstated and obfuscated; (7) Nikola
26   did not have five Tre trucks completed; and (8) as a result, Defendants’ public statements
27   were materially false and/or misleading at all relevant times.
28
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                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5      Filed 09/21/20     Page 18 of 46




 1                                   THE TRUTH EMERGES
 2          40.    On September 10, 2020, before market hours, Hindenburg Research
 3   published a report (the “Report”) describing, among other things, how: (i) the Company
 4   claims to design key components in house, but they appear to simply be buying or
 5   licensing them from third-parties; (ii) the Company has not produced hydrogen; (iii) a
 6   spokesman for Powercell AB, a hydrogen fuel cell technology company that formerly
 7   partnered with Nikola, called Nikola’s battery and hydrogen fuel cell claims “hot air”; (iv)
 8   Nikola staged a “test” video for its Nikola Two; (v) some of Nikola’s team, including
 9   Defendant Milton, are not experts and do not have relevant experience; and (vi) Nikola
10   did not have five Tre trucks completed.
11          41.    The Report alleged that the Company overstated its “in-house” design,
12   manufacturing, and testing capabilities, stating, in pertinent part:
13          Trevor claims Nikola designs all key components in house, but they appear
14          to simply be buying or licensing them from third-parties. One example: we
            found that Nikola actually buys inverters from a company called Cascadia.
15          In a video showing off its “in-house” inverters, Nikola concealed the
16          Cascadia label with a piece of masking tape.

17                                          *      *       *
18
            Despite regularly claiming to develop almost everything in-house, Nikola
19          quietly outsourced the NZT redesign to a small company called Stellar
            Strategy LLC (https://stellarstrategyllc.com/). Stellar is staffed by former
20
            executives of Polaris (https://offroad.polaris.com/en-us/), a well-known
21          producer of off-road vehicles who had advised Nikola on the open cabin
            version.
22
23                                          *      *       *
24          Trevor Milton in 2020: We Make All Our Inverters In-House
25          Reality: Nikola Buys Inverters from a Third-Party Supplier. A July
            Video Shows the Inverter, but the Label of the Manufacturer is Covered
26          with Masking Tape
27
            After the critical Bloomberg article (https://www.bloomberg.com/news/
28          articles/2020-06-17/nikola-s-founder-exaggerated-the-capability-of-hisdebu
                                         18
                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL     Document 5      Filed 09/21/20    Page 19 of 46




           t-truck), it seemed there was an undercurrent of skepticism that Trevor
 1
           became obsessed with countering.
 2
           Nikola had always made claims that its components were developed in-
 3         house, dating back to Nikola’s first press release (https://nikolamotor.com/
 4         press_releases/nikola-motor-company-formed-to-transform-u-s-transportati
           on-industry-25) on May 9, 2016:
 5
 6         “The majority of the semi-trucks components are being developed by
           Nikola.”
 7
 8                                       *      *      *

 9         When people would ask skeptically what Nikola had ever
10         actually developed, Trevor would respond with a list of components such as
           batteries and inverters made in-house. See examples, here
11         (https://twitter.com/laurisyrjaniemi/status/1269176058768752640),     here
           (https://twitter.com/moonwalk19691/status/1278359414811099136)         and
12
           here (https://twitter.com/IsaacTaub56/status/1279654385686102016):
13
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                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5      Filed 09/21/20    Page 20 of 46




           Trevor later attempted to counter skeptics by showing videos of the two
 1
           prototype trucks that had been built with partner Bosch, suggesting that this
 2         somehow disproved the allegation that the earlier truck he built had never
           been finished.
 3
 4         In one such video, on July 14th, 2020 (https://www.youtube.com/watch?v=
           7C2LDmkEmP0), Trevor walks viewers through the Powertrain for the
 5         Nikola Two. At the 29:30 (https://youtu.be/7C2LDmkEmP0?t=1770) mark
 6         Trevor begins describing the in-house inverters and how other OEMs are
           asking to use Nikola’s proprietary inverter tech:
 7
 8         “We do all the e-axle design in house. All the gears, the gear reductions. The
           thermal the cooling. Even the controls that go with it. And, also, the
 9         inverters as well. All inverters on the Nikola truck are probably some of
10         the most advanced software systems that I know of anywhere in the
           automotive world. Why do I know that? It’s because other OEMs are asking
11         us to use it.”
12
           At the 7:02 mark (https://youtu.be/7C2LDmkEmP0?t=422), we can see the
13         inverters up close. There is a relatively inconspicuous green piece of masking
           tape on the component:
14
15
16
17
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                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL       Document 5    Filed 09/21/20    Page 21 of 46




 1
           Here it is up close:
 2
 3
 4
 5
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 7
 8
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10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
           The inverter is not proprietary to Nikola. Cascadia Motion, a small
25         company in Portland, offers such inverters off the shelf
           (https://cascadiamotion.com/images/catalog/DataSheets/RM300.pdf). The
26
           tape is covering the label which would normally show the product description
27         and other specifications that make clear who built the component:
28
                                       21
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5     Filed 09/21/20    Page 22 of 46




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21
           We texted a sales engineer for Cascadia and asked if the model was available
22         to the public or if it was a customer specific model, and they confirmed that
           it was for sale to the public.
23
24         This follows the same pattern. Nikola has regularly used off-the-shelf
           products from third parties, while claiming to have vast internal
25
           proprietary technology and to “design” all the products itself. It then
26         partners with companies that actually have the components Nikola claimed
           to have already developed internally.
27
28         (Emphasis added.)
                                       22
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5       Filed 09/21/20      Page 23 of 46




 1          42.    The Report alleged that the Company overstated its hydrogen production
 2   capabilities and its ability to cost costs of hydrogen fuel, stating, in pertinent part:
 3
            A spokesman for Volvo spin-off Powercell AB, a hydrogen fuel cell
 4          technology company that formerly partnered with Nikola, called Nikola’s
            battery and hydrogen fuel cell claims “hot air”. . . .
 5
 6          Inexpensive hydrogen is fundamental to the success of Nikola’s business
            model. Trevor has claimed in a presentation to hundreds of people and in
 7          multiple interviews to have succeeded at cutting the cost of hydrogen by
 8          ~81% compared to peers and to already be producing hydrogen. Nikola has
            not produced hydrogen at this price or at any price as he later admitted
 9          when pressed by media.
10
            Trevor has appointed his brother, Travis, as “Director of Hydrogen
11          Production/Infrastructure” to oversee this critical part of the business.
            Travis’s prior experience looks to have largely consisted of pouring concrete
12
            driveways and doing subcontractor work on home renovations in Hawaii.
13
                                             *      *       *
14
15          2020: Trevor Claimed Nikola Produces Hydrogen for Under $3/kg,
            ~81% Cheaper Than the Rest of The World, Representing a Major
16          Breakthrough
17
            The high cost of hydrogen, among other issues, has prevented it from
18          becoming a mainstream fuel source for alternative energy vehicles. The high
19          price tag results from both the cost to isolate hydrogen and the cost of
            building production facilities/transmission.
20
21          Low-cost hydrogen production is critical to Nikola’s financial viability, as
            Nikola’s hydrogen long haul truck sales would rely on a working network of
22          hydrogen stations. Nikola’s much anticipated fuel cell pickup truck’s
            existence    also    hinges     (https://insideevs.com/news/435512/trevor-
23
            miltonnikola-badgers-details-sales-operation/) on a hydrogen station roll out.
24
                                             *      *       *
25
26          In an August 2020 interview (https://www.youtube.com/watch?v=nbrgQj4x
            lbk) with Fox Business News, when asked about hydrogen, Trevor says:
27
28
                                         23
                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL       Document 5      Filed 09/21/20     Page 24 of 46




 1
           “We saw an opportunity to bring the cost of hydrogen down going zero-
 2         emission and putting it on parity with diesel, and it’s the first time in history
           that’s been able to be done, so it went from about $16/kg and we are down
 3         now below $4/kg. And there’s a lot of reasons for that, but the main one is
 4         standardization of a hydrogen station worldwide has allowed us to drive that
           cost down dramatically. We tell people we’re an energy technology
 5         company that happens to build really cool vehicles.”
 6
           In another interview on July 17, 2020, on the TeslaCharts podcast, Trevor
 7         claimed Nikola has been able to “chop the cost of hydrogen from $16/kg
 8         down to – we’re down below $3/kg on our hydrogen now.”[1] [11:34
           (https://feeds.buzzsprout.com/758369/4605602-episode-35-trevormilton?pl
 9         ay=true)]. This would mark an astonishing 81.25% reduction in the cost of
           hydrogen.
10
11         When challenged again about Nikola’s hydrogen production cost by the
           TeslaCharts podcast host [25:00 (https://feeds.buzzsprout.com/758369/4605
12
           602-episode-35-trevor-milton?play=true)], Trevor repeats the question,
13         compliments the host on asking the question, claims he has “so much
           experience” with answering the question, says he “knows the stuff better than
14         anyone he has ever encountered” and says he has spent “7 years” driving the
15         cost of hydrogen down.
16         But he then admits that many of the “changes” in the hydrogen world he has
17         seen are “not so much on the technology side” and that Nikola has “seen
           maybe a 5% or 10% increase in efficiency across the board” in hydrogen
18         technology. But that’s “not what changes the world,” Trevor says.
19
           After providing an anecdote about his father, and offering some other
20         sidetrack discussion, he then admits that Nikola’s entire answer to
           bringing down the cost was to simply standardize a hydrogen station.
21
           “The standardization of the hydrogen station was the most important aspect,”
22         Trevor says.
23         Such standardization would clearly bring costs down, but Nikola already
24         claimed to have accomplished the feat without having a single production
           facility of its own.
25
26         When Pressed on the Subject in July 2020, Trevor Acknowledged Nikola
           Produces No Hydrogen at All. The Claims Made at Nikola World and
27         In Multiple Interviews Were, Once Again, Completely Fictitious
28
                                       24
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5      Filed 09/21/20   Page 25 of 46




 1
            In a subsequent interview on July, 2020 (https://www.linkedin.com/pulse/
 2          interview-trevor-milton-founder-executive-chairman-nikolameckmann/?
            trackingId=nIXxnt4u0GFFIunPZCD9Uw%3D%3D), when pressed about
 3          hydrogen production, Trevor acknowledged producing no hydrogen at all:
 4
            Trevor:
 5          “The station is designed to store and pump about 1,000 kg’s per day.
 6          Electrolyzers are going in now and should be operational with zero
            emission solar production by Nikola World 2020. We have 2.5
 7          megawatts of solar going up now at the facility. The station functions
 8          now, but we do not sell it to the public.”

 9          Interviewer:
            “OK, so for the record: You’re currently producing no hydrogen but
10
            you’re planning to produce 1 metric ton/day using 100% solar energy by the
11          end of the year? What are you going to use it for by then?”
12
            Trevor:
13          “The permitting process of producing hydrogen takes much longer than
            storing and pumping it. We spent the last year building the largest
14          hydrogen station in the western world in Phoenix, AZ at our HQ. Now
15          we will spend the next 5 months installing the hydrogen production
            (Electrolyzers, Power Electronics, Thermal, Etc.) into that station.”
16
17          We found the admission to be unsurprising when we learned who was in
            charge of Nikola’s efforts to develop and roll out its supposedly
18          revolutionary hydrogen production capabilities.
19
            (Emphasis added.)
20
21          43.    The Report alleged that the Company overstated its key employee’s

22   expertise and experience, stating, in pertinent part:

23          Nikola’s Director of Hydrogen Production/Infrastructure Is Trevor
24          Milton’s Little Brother, Who Worked Paving Driveways in Hawaii Prior
            To Joining at Nikola
25
26          Given the complicated nature of hydrogen, we wanted to look closer into the
            resumes of who Nikola has put in charge of such a critical and dangerous
27          aspect of their business.
28
                                         25
                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5      Filed 09/21/20     Page 26 of 46




 1
           We expected to find that Nikola had hired a world-renowned scientist to
 2         lead its revolutionary hydrogen efforts. Instead, it appears Nikola
           has appointed Trevor Milton’s little brother, Travis, as the Director of
 3         Hydrogen Production/Infrastructure. Travis has held his title at Nikola for
 4         over 5 years, beginning January 2015, according to his LinkedIn
           (https://www.linkedin.com/in/travis-milton-4b968153/). [Image omitted.]
 5
 6         Interestingly, he seems to have landed in this crucial position the same month
           he finished his last job, where his LinkedIn lists him as “President” of “Self-
 7         Employed” in Maui, Hawaii. . . .
 8
           Eventually, we found a website (http://www.ericnewman.com/TravisMilton
 9         .htm) that highlighted Travis’ work pouring concrete and building a barn as
           a subcontractor in Maui. [Image omitted.]
10
11         “Mr. Milton poured two long and challenging driveways (one driveway
           was the world’s steepest), and extensive walkways with elaborate embossed
12
           Hawaiian leaves,” the website says. . . .
13
           We’re not sure how this work prepped Travis for a key role in solving one of
14         the world’s greatest scientific challenges, but he appears to have been
15         handsomely rewarded for his discoveries.
16         Trevor has given Travis, along with other family members of Trevor and
17         select early employees, stock worth over $110 million as of this writing.
           [Pg. 116 (https://www.sec.gov/Archives/edgar/data/1731289/000104746920
18         004261/a2242128z424b3.htm)] One source we spoke with, who previously
19         worked with Travis, described him as not having a formal role and as
           someone Trevor “kept around” if they “needed someone to hold a rope, or
20         something like that” while they were working on vehicles.
21
           Nikola’s Head of Infrastructure Development, In Charge Of “Leading
22         Development” Of Nikola’s 700+ Hydrogen Station Network, Is the
           Former CEO And General Manager of a Golf Club In Idaho
23
24         Also central to the company’s hydrogen station initiative is Nikola’s “Head
           of Infrastructure Development”.
25
26         Once again, we might anticipate that the rollout of Nikola’s coast-to-coast
           hydrogen production network would be managed by an individual with an
27         extensive background in both science as well as large infrastructure
28         developments.
                                       26
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL       Document 5      Filed 09/21/20   Page 27 of 46




 1
            For this task, the company chose Dale Prows, who is described at the 13:20
 2          (https://www.youtube.com/watch?v=LbNopvpSbzU&feature=youtu.be&t=
            798) mark in a video produced for investors ahead of the company going
 3          public, as “one of our hydrogen experts.”
 4
            Prows joined Nikola after spending almost 4 years as CEO and General
 5          Manager at a residential golf course in Idaho. [Images omitted.]
 6
            Prows, along with Travis Milton, are apparently going to spearhead
 7          building the world’s first network of 700 hydrogen production and fueling
 8          stations.

 9          Trevor: “We’ve Assembled One of the Best Teams in the World”
10          Nikola’s Chief Engineer: A Background Largely in Software
            Development and Pinball Machine Repair
11
            Trevor regularly touts bringing in top talent (https://youtu.be/ol110JwBQA
12
            A?t=33) from all over the world. Key to that team is Nikola’s Chief
13          Engineer, Kevin Lynk (https://www.linkedin.com/in/klynk/).
14          Trevor credits Kevin with designing all of the company’s e-axle, a complex
15          task for one vehicle let alone Nikola’s proposed suite of vehicles. At 8:43
            (https://youtu.be/heHZYqlLRdE?t=523) in the following video, Trevor
16          details all the elements of Nikola’s e-axle’s as developed by Lynk:
17
            “All the e-axles at Nikola were developed by Kevin… (These include) rotor,
18          stator, cooling, thermal, gears, and sometimes inverters.”
19
            (Note that the e-axles appear to be mostly developed by Bosch (https://www
20          .reuters.com/article/us-autos-bosch/bosch-partners-with-startupnikola-on-
            electric-long-haul-truck-idUSKCN1BU1TO).) We reviewed Kevin’s
21
            biography on LinkedIn and found that prior to Nikola, he worked for 7
22          months designing oilfield products using CAD software, 3.5 years in
            software development, and prior to that spent 9 months repairing pinball
23          machines.
24
            (Emphasis added.)
25
26          44.    The Report alleged that the Company published a misleading video of its
27   Nikola Two prototype, stating, in pertinent part:
28
                                        27
                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL       Document 5     Filed 09/21/20    Page 28 of 46




 1
            July 2020: Nikola Posts Video of Nikola Two Going “0-60 in Under 5
 2
            Seconds”
 3          Reality: The Vehicle Was Already Rolling When the Video Started and
            it Still Took Over 10 Seconds
 4
 5          Following the Nikola One “demonstration”, the company was successful in
            raising capital and bringing on a number of legitimate partners. Automotive
 6          supply heavyweight Bosch agreed to work with Nikola in September 2017
 7          (https://nikolamotor.com/press_releases/nikola-motorcompany-and-bosch-
            develop-the-commercial-vehicle-powertrain-of-the-future-35), and, by all
 8          reports, (https://www.boschpresse.de/pressportal/de/en/commercial-vehicle-
 9          innovation-enabler-bosch-brings-advanced-solutions-to-the-new-nikola-
            two-truck-187968.html) largely built its Nikola Two prototype trucks.
10
            In a tweet (https://twitter.com/nikolatrevor/status/1283425947199221761?s
11
            =20), Trevor posted a video claiming to showcase the Nikola Two
12          prototype’s acceleration capabilities[.] [Image omitted.]
13
            The video begins with the truck already rolling. By just using a basic
14          stopwatch, we can see that it takes over 10 seconds between the start and
            Trevor exclaiming “there it is” on the video. The speedometer is not visible,
15          and we obviously have no ability to see what is actually powering the truck.
16          [Click here to see the video, with a stopwatch (https://youtu.be/rSiWPNe2ll
            U)]
17
18          In response to questions about the veracity of the video
            (1 (https://twitter.com/nikolatrevor/status/1283429144970158080?s=20),
19          2 (https://twitter.com/nikolatrevor/status/1283449179776245761?s=20)),
20          Trevor promised that professional video would soon follow, but we have
            seen no such update.
21
22          (Emphasis added.)
23          45.    The Report alleged that Defendant Milton “has established an undeniable
24   track record of taking from others and claiming technology as his own. He has quietly
25   used off-the-shelf products from third-parties while loudly claiming to have vast
26   proprietary technology[,]” describing his time with Nikola and stating the following, in
27   pertinent part, about his experience before Nikola:
28
                                        28
                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5      Filed 09/21/20     Page 29 of 46




           . . . Trevor Milton is as “key man” as it gets. Per Nikola’s filings:
 1
           “Mr. Milton is the source of many, if not most, of the ideas and execution
 2         driving Nikola” [Pg. 45 (https://www.sec.gov/ix? doc=/Archives/edgar/
           data/1731289/000173128920000012/nkla-20200630.htm)].
 3
 4         In Trevor’s post-Q2 CNBC interview, he said he let Nikola’s CEO
           and CFO handle the earnings call because he “wanted them to feel
 5         like they have a voice in the company”. (Aug 5 CNBC, 3:34
 6         (https://www.youtube.com/watch?v=OPhN8saJkAI))

 7                                        *      *       *
 8
           Our work for this report involved speaking with multiple whistleblowers,
 9         business partners, and former employees as well as reviewing extensive
           internal documentation from Trevor’s ventures leading up to Nikola,
10
           including emails, text messages, recorded conversations and behind-the
11         scenes photographs.
12
           Based on our findings, we believe Nikola is an intricate fraud built on dozens
13         of lies over the course of its founder Trevor Milton’s career, which he has
           parlayed into a $20 billion cloud of smoke and partnerships with some of the
14         top auto companies in the world.
15
           Part I: Trevor Milton’s Career Path Leading Up to Nikola
16         November 2009: Trevor Milton Launches dHybrid, Inc. with a Partner,
17         Kicking off his EV Trucking Journey. It Ended in Litigation With
           Allegations of Misappropriation and False Promises
18
19         After dropping out of college (https://twitter.com/nikolatrevor/status/12841
           89340516540416?s=20), Trevor Milton started an alarm sales company in
20         Utah called St. George Security and Alarm. He eventually exited the business
           for $300,000. Our interview with its buyer indicated that Trevor
21
           overpromised, resulting in a total loss for the initial acquirer. We also
22         interviewed Trevor’s “50/50” business partner who indicated he was led to
           believe the exit was much smaller, saying he ultimately received only
23         $100,000 for his “50%”. Following the alarm business exit, Trevor launched
24         an online classified ads website that sold used cars, called uPillar.com, which
           eventually failed. (For more on both of these early businesses, see the
25         Appendix at the end of this report.)
26
           Following those two early pursuits, Trevor’s initial foray into alternative
27         energy vehicles was a company called dHybrid, Inc. Trevor joined forces
28         with an engineer named Mike Shrout who had developed compressed natural
                                       29
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL     Document 5     Filed 09/21/20    Page 30 of 46




           gas (CNG) conversion technology for diesel engines. Shrout was to bring the
 1
           technical expertise to the venture while Trevor would bring his business
 2         experience.
 3         It Got Off to a Good Start: dHybrid Entered into Agreement with Major
 4         Trucking Company Swift to Convert Up to 800 Trucks, a Contract
           Valued at 16 Million
 5
 6                                       *     *      *

 7         Swift Later Sued, Alleging the Company Delivered Only 5 Trucks That
 8         Didn’t Work and That dHybrid’s Officers Misappropriated Capital for
           Personal Use
 9
                                         *     *      *
10
11         In the Lead-Up to the Lawsuit, Trevor Reached out to New Investors
           Claiming the Swift Contract Was Worth 250-300 Million
12
           Reality: We Have the Contract. It Was Only 16 Million
13
                                         *     *      *
14
15         Following the Swift Litigation, dHybrid Sought a Buyout But the Deal
           Ended in More Litigation, With the Buyer Alleging dHybrid Made
16         Numerous Misrepresentations About its Capabilities
17
                                         *     *      *
18
19         2012: With dHybrid Mired in Litigation, Trevor Started a New
           Company With his Dad, Choosing a Very Similar Name, dHybrid
20         Systems
           Trevor Then Falsely Claimed to Prospective Partners That ‘dHybrid’
21
           Had Been in Operation for Years
22
                                         *     *      *
23
24         2014: dHybrid Systems Was Then Acquired by Worthington—A
           Successful Exit…For Trevor
25         We Learned from a Former Employee (In a Recorded Call) That
26         dHybrid Concealed Potentially Fatal Product Issues from Worthington
           In Order to Get the Deal Done
27
28                                       *     *      *
                                       30
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL       Document 5      Filed 09/21/20    Page 31 of 46




 1
            December 2015: Worthington Promptly Wrote Down the Value of dHybrid
 2          Assets
 3          (Emphasis added.)
 4
 5          46.    The Report also alleged that the Company did not have five Tre trucks
 6   coming off of the assembly line in Ulm, Germany.
 7          47.    On this news, shares of Nikola fell $10.24, or 24%, over the next two trading
 8   days, to close at $32.13 per share on September 11, 2020, on unusually heavy trading
 9   volume, damaging investors.
10          48.    On September 14, 2020, after market hours, Bloomberg published an article
11   entitled “SEC Examining Nikola Over Short Seller’s Fraud Allegations” which announced
12   the SEC examination of Nikola stemming from the Report.
13          49.    On September 15, 2020, before trading hours, Hindenburg Research
14   published another report (the “Second Report”), focused on Nikola’s responses and non-
15   responses to the Report, entitled “We View Nikola’s Response As a Tacit Admission of
16   Securities Fraud[.]”
17          50.    The Second Report stated the following, in relevant part, regarding the
18   Company’s in-house design and manufacturing capabilities:
19
            Our Report: Trevor Claimed On Video That Nikola’s Inverters Were
20          Developed In House And That OEMs Were Asking To Use Them. In
            The Same Video He Is Showcasing An Inverter Manufactured By
21
            Cascadia With Masking Tape Covering Its Label.
22
            Nikola’s Response: Admits This is True, Then Deflects by Vaguely
23          Stating That the Company Has Been “Working on Its Own Inverters
24          For Quite Some Time”
25          In our report, we pointed out that Trevor, on video, claimed that Nikola made
26          its own inverters in-house, along with all the e-axle design and other key
            components.
27
28
                                        31
                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5      Filed 09/21/20    Page 32 of 46




           In the same video, Trevor shows off an inverter that we discovered is actually
 1
           manufactured by Cascadia, with a piece of masking tape on the label that
 2         concealed who really made it.
 3         The company once again admitted the claims in our report to be true, and
 4         walked back its claims that these inverters were Nikola’s proprietary
           intellectual property by vaguely stating that it is “working on” its own
 5         inverter:
 6
           “Nikola has been designing, engineering and working on its own inverters
 7         for quite some time.”
 8
           The company’s CEO, Mark Russell, further walked back the company’s
 9         claims to have vast proprietary technology when pressed by reporters from
10         the Financial Times on Friday:

11         “Asked about Mr. Milton’s claim to have all the ‘core’ technology for its
           vehicles, Mr. Russell described the company as an ‘integrator’, stitching
12
           together the many elements of its vehicles from a complex supply chain.”
13
           Russell’s admission clearly corroborates our own findings, and directly
14         contradicts Trevor’s repeated claims of Nikola having vast proprietary
15         intellectual property.
16         The company’s response on Monday morning declared that “at no time did
17         Nikola state that the inverter on the prototype truck shown in the video was
           the Company’s.” But of course it ignores the fact that there is video proof,
18         narrated by Milton himself:
19
           “We do all the e-axle design in house. All the gears, the gear reductions. The
20         thermal the cooling. Even the controls that go with it. And, also, the
           inverters as well. All inverters on the Nikola truck are probably some of
21
           the most advanced software systems that I know of anywhere in the
22         automotive world. Why do I know that? It’s because other OEMs are
           asking us to use it.”
23
24         Why would OEMs be asking to use an inverter that hadn’t even been
25         developed? Furthermore, Trevor actually points to the supposed “in-house”
           inverter in question in the video:
26
27
28
                                       32
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5      Filed 09/21/20    Page 33 of 46




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11         Pictured: Trevor Milton’s finger, while he narrates a “Behind the Scenes”
12         video, pointing at a Cascadia Inverter with masking tape over its label, about
           15 minutes before proclaiming Nikola makes all its own inverters.
13
14         Once again, the company admitted our findings were correct.

15         Now, rather than defending its previous false claims to have developed
           revolutionary proprietary technology for use in its vehicles and prototypes,
16
           Nikola now vaguely claims to be working on it.
17
           (Emphasis added.)
18
19         51.    The Second Report stated the following, in pertinent part, regarding the
20   Company’s hydrogen production capabilities:
21
           Nikola’s Response Confirmed That None of this Happened: “Nikola
22         Continues to Believe that its Planned Hydrogen Station Network…Will
23         Provide Key Competitive Advantages.”

24                                        *      *      *
25
           As acknowledged by the company’s statement Monday, it has no hydrogen
26         network, and simply hopes to have one in the future. This once again strikes
           us as a tacit admission of securities fraud.
27
           (Emphasis added.)
28
                                       33
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL     Document 5     Filed 09/21/20   Page 34 of 46




 1         52.    The Second Report stated the following, in pertinent part, regarding key
 2   Nikola employee’s work experience:
 3
           Our Report: Why Would Trevor Appoint His Brother As “Director of
 4         Hydrogen Production/Infrastructure” Given He Had No Apparent
           Experience in Hydrogen Technology?
 5
 6         Nikola’s Response: Travis Milton Ran A Construction Business
 7         In our report, we noted that Trevor Milton appointed his younger brother
 8         Travis to a position that required scientific expertise. . . .

 9         The company responded on Monday by claiming that Travis is qualified for
10         this high-level scientific position because he previously worked in
           construction:
11
           “Travis Milton previously owned and operated his own construction
12
           company preparing him for hydrogen station infrastructure and buildouts.”
13
           When faced with the same question, in a since-deleted Instagram rant
14
           addressing the question (we have a copy), Trevor stated:
15
           “Why do you give a shit? Go start your own company—hire your own
16         employees!”
17
           Our questions to the company concerned Travis’ contributions to Nikola’s
18         claimed hydrogen breakthroughs, and his experience with the significant
19         technical and scientific challenges of hydrogen production, storage and
           delivery. Those questions remain completely unanswered.
20
21         53.    The Second Report stated the following, in relevant part, regarding the
22   Company’s potential five Tre trucks:
23
           Bloomberg Corroborates: The Assembly Line Isn’t Finished
24         Nikola’s Response Tacks A Year and A Half Onto Trevor’s Publicly
           Disclosed “Right Now” Achievement, Saying It Doesn’t Expect the Tre
25
           Until Q4 2021
26
           Our research highlighted statements made by Trevor in July 2020 that 5
27
           Nikola Tre trucks were coming off an assembly line in Germany. We
28
                                        34
                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5      Filed 09/21/20      Page 35 of 46




           showed in our report that none of the trucks had been completed and that
 1
           the assembly line itself had not been completed.
 2
           Bloomberg has since confirmed our work, writing:
 3
 4         “Those statements were a mischaracterization of Nikola and Iveco’s
           progress in Ulm, according to two people familiar with the matter. The
 5         assembly line is still under construction and not yet operational or
 6         building prototypes, the people said. There are prototypes being built by
           hand in a workshop, one of the people said.”
 7
 8         . . . In its response on Monday morning, Nikola stated:

 9         “five trucks are currently being built and commissioned in Ulm, Germany,
           and are pre-production builds”
10
11         This confirmed our original report, including comments quoted by a Bosch
           spokesman, indicating the trucks were still not completed and had not rolled
12
           off an assembly line in July. Nikola then stated that it expects the Tre to be
13         “ready for production and available to customers by the fourth quarter of
           2021.”
14
15         We view this, once again, as an admission that Trevor’s statement to
           investors in July was patently false. Not only were completed trucks not
16         rolling off an assembly line, but an assembly line hadn’t even been
17         constructed. The trucks remain uncompleted.

18         (Emphasis added.)
19         54.    The Second Report listed 43 questions that Hindenburg raised in its Report
20   that Nikola has not responded to. These include the following regarding key Nikola
21   employee’s wok experience, Nikola’s hydrogen production and pricing capabilities, and
22   the Nikola Two video:
23
           6. You appointed your brother Travis as “Director of Hydrogen
24         Production/Infrastructure”. What experience does he have in hydrogen
           research and production?”
25
26         Nikola’s response: NONE
27                                        *      *      *
28
                                       35
                 AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                        OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5    Filed 09/21/20    Page 36 of 46




 1
           24. You claimed in an interview to have succeeded at cutting the cost of
 2         hydrogen by ~81% from peers, stating “we’re down below $3/kg on our
           hydrogen now”. How much hydrogen has Nikola produced at this price, if
 3         any?
 4
           Nikola’s response: NONE
 5
 6                                        *      *      *

 7         26. Why did you post a video saying the Nikola Two had gone from 0-60mph
 8         in under 5 seconds when anyone with a stopwatch can see that it took at least
           10 seconds?
 9
           Nikola’s response: NONE
10
11         27. Following the 0-60 video you promised to post a professional version of
           the video, saying it was just being edited. But you never did. Why? Does the
12
           Nikola Two have as much power as you’ve claimed it has?
13
           Nikola’s response: NONE
14
15         55.    On this news, shares of Nikola fell $2.96, or 8%, over the trading day, to
16   close at $32.83 per share on September 15, 2020, on unusually heavy trading volume,
17   further damaging investors.
18         56.    Late on September 20, 2020, Nikola issued a press release entitled “Nikola
19   Board of Directors Announces Leadership Transition: Trevor Milton Steps Down as
20   Executive Chairman; Stephen Girsky Appointed Chairman of the Board[.]” Upon
21   information and belief, Defendant Milton was forced out of the Company due to his
22   involvement in the fraud.
23         57.    On this news, the price of securities of Nikola plummeted in pre-market
24   trading on September 21, 2020, further damaging investors.
25         58.    As a result of Defendants’ wrongful acts and omissions, and the precipitous
26   decline in the market value of the Company’s securities, Plaintiff and other Class members
27   have suffered significant losses and damages.
28
                                        36
                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5       Filed 09/21/20     Page 37 of 46




 1                      PLAINTIFF’S CLASS ACTION ALLEGATIONS
 2          59.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
 3   Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than
 4   defendants who purchased publicly traded Nikola securities on the NASDAQ during the
 5   Class Period, and who were damaged thereby (the “Class”). Excluded from the Class are
 6   Defendants, the officers and directors of Nikola and its subsidiaries, members of the
 7   Individual Defendants’ immediate families and their legal representatives, heirs,
 8   successors or assigns and any entity in which Defendants have or had a controlling
 9   interest.
10          60.    The members of the Class are so numerous that joinder of all members is
11   impracticable. Throughout the Class Period, Nikola securities were actively traded on the
12   NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time
13   and can be ascertained only through appropriate discovery, Plaintiff believes that there are
14   hundreds, if not thousands of members in the proposed Class.
15          61.    Plaintiff’s claims are typical of the claims of the members of the Class as all
16   members of the Class are similarly affected by defendants’ wrongful conduct in violation
17   of federal law that is complained of herein.
18          62.    Plaintiff will fairly and adequately protect the interests of the members of
19   the Class and has retained counsel competent and experienced in class and securities
20   litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Class.
21          63.    Common questions of law and fact exist as to all members of the Class and
22   predominate over any questions solely affecting individual members of the Class. Among
23   the questions of law and fact common to the Class are:
24                 a)      whether the Exchange Act was violated by Defendants’ acts as
25   alleged herein;
26                 b)      whether statements made by Defendants to the investing public
27   during the Class Period misrepresented material facts about the financial condition and
28   business of the Company;
                                         37
                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL       Document 5       Filed 09/21/20   Page 38 of 46




 1                 c)     whether Defendants’ public statements to the investing public during
 2   the Class Period omitted material facts necessary to make the statements made, in light of
 3   the circumstances under which they were made, not misleading;
 4                 d)     whether the Defendants caused the Company to issue false and
 5   misleading filings during the Class Period;
 6                 e)     whether Defendants acted knowingly or recklessly in issuing false
 7   filings;
 8                 f)     whether the prices of Nikola securities during the Class Period were
 9   artificially inflated because of the Defendants’ conduct complained of herein; and
10                 g)     whether the members of the Class have sustained damages and, if so,
11   what is the proper measure of damages.
12          64.    A class action is superior to all other available methods for the fair and
13   efficient adjudication of this controversy since joinder of all members is impracticable.
14   Furthermore, as the damages suffered by individual Class members may be relatively
15   small, the expense and burden of individual litigation make it impossible for members of
16   the Class to individually redress the wrongs done to them. There will be no difficulty in
17   the management of this action as a class action.
18          65.    Plaintiff will rely, in part, upon the presumption of reliance established by
19   the fraud-on-the-market doctrine in that:
20                 a)     Nikola shares met the requirements for listing, and were listed and
21   actively traded on the NASDAQ, an efficient market;
22                 b)     As a public issuer, the Company filed periodic public reports;
23                 c)     Nikola regularly communicated with public investors via established
24   market communication mechanisms, including through the regular dissemination of press
25   releases via major newswire services and through other wide-ranging public disclosures,
26   such as communications with the financial press and other similar reporting services;
27                 d)     Nikola’s securities were liquid and traded with moderate to heavy
28   volume during the Class Period; and
                                        38
                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5      Filed 09/21/20    Page 39 of 46




 1                  e)      The Company was followed by a number of securities analysts
 2   employed by major brokerage firms who wrote reports that were widely distributed and
 3   publicly available.
 4          66.     Based on the foregoing, the market for Nikola securities promptly digested
 5   current information regarding the Company from all publicly available sources and
 6   reflected such information in the prices of the securities, and Plaintiff and the members of
 7   the Class are entitled to a presumption of reliance upon the integrity of the market.
 8          67.     Alternatively, Plaintiff and the members of the Class are entitled to the
 9   presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the
10   State of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material
11   information in their Class Period statements in violation of a duty to disclose such
12   information as detailed above.
13
                                            COUNT I
14          For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                     Against All Defendants
15
16          68.     Plaintiff repeats and realleges each and every allegation contained above as
17   if fully set forth herein.
18          69.     This Count is asserted against Defendants is based upon Section 10(b) of
19   the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the
20   SEC.
21          70.      During the Class Period, Defendants, individually and in concert, directly
22   or indirectly, disseminated or approved the false statements specified above, which they
23   knew    or deliberately      disregarded were     misleading   in that    they   contained
24   misrepresentations and failed to disclose material facts necessary in order to make the
25   statements made, in light of the circumstances under which they were made, not
26   misleading.
27          71.     Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:
28                         employed devices, schemes and artifices to defraud;
                                          39
                    AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                           OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL         Document 5    Filed 09/21/20    Page 40 of 46




 1                       made untrue statements of material facts or omitted to state material
 2                        facts necessary in order to make the statements made, in light of the
 3                        circumstances under which they were made, not misleading; or
 4                       engaged in acts, practices and a course of business that operated as a
 5                        fraud or deceit upon plaintiff and others similarly situated in
 6                        connection with their purchases of Nikola securities during the Class
 7                        Period.
 8            72.   Defendants acted with scienter in that they knew that the public documents
 9   and statements issued or disseminated in the name of the Company were materially false
10   and misleading; knew that such statements or documents would be issued or disseminated
11   to the investing public; and knowingly and substantially participated, or acquiesced in the
12   issuance or dissemination of such statements or documents as primary violations of the
13   securities laws. These Defendants by virtue of their receipt of information reflecting the
14   true facts of the Company, their control over, and/or receipt and/or modification of
15   Nikola’s allegedly materially misleading statements, and/or their associations with the
16   Company which made them privy to confidential proprietary information concerning the
17   Company, participated in the fraudulent scheme alleged herein.
18            73.   Individual Defendants, who are or were the senior officers and/or directors
19   of the Company, had actual knowledge of the material omissions and/or the falsity of the
20   material statements set forth above, and intended to deceive Plaintiff and the other
21   members of the Class, or, in the alternative, acted with reckless disregard for the truth
22   when they failed to ascertain and disclose the true facts in the statements made by them
23   or other Nikola personnel to members of the investing public, including Plaintiff and the
24   Class.
25            74.   As a result of the foregoing, the market price of Nikola securities was
26   artificially inflated during the Class Period. In ignorance of the falsity of Defendants’
27   statements, Plaintiff and the other members of the Class relied on the statements described
28   above and/or the integrity of the market price of Nikola securities during the Class Period
                                          40
                    AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                           OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL             Document 5   Filed 09/21/20   Page 41 of 46




 1   in purchasing Nikola securities at prices that were artificially inflated as a result of
 2   Defendants’ false and misleading statements.
 3          75.     Had Plaintiff and the other members of the Class been aware that the market
 4   price of Nikola’s securities had been artificially and falsely inflated by Defendants’
 5   misleading statements and by the material adverse information which Defendants did not
 6   disclose, they would not have purchased Nikola’s securities at the artificially inflated
 7   prices that they did, or at all.
 8          76.      As a result of the wrongful conduct alleged herein, Plaintiff and other
 9   members of the Class have suffered damages in an amount to be established at trial.
10          77.     By reason of the foregoing, Defendants have violated Section 10(b) of the
11   1934 Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the
12   other members of the Class for substantial damages which they suffered in connection
13   with their purchase of Nikola’s securities during the Class Period.
14
                                              COUNT II
15                         Violations of Section 20(a) of the Exchange Act
                                 Against the Individual Defendants
16
17          78.     Plaintiff repeats and realleges each and every allegation contained in the
18   foregoing paragraphs as if fully set forth herein.
19          79.     During the Class Period, the Individual Defendants participated in the
20   operation and management of the Company, and conducted and participated, directly and
21   indirectly, in the conduct of Nikola’s business affairs. Because of their senior positions,
22   they knew the adverse non-public information about the Company’s false financial
23   statements.
24          80.     As officers of a publicly owned company, the Individual Defendants had a
25   duty to disseminate accurate and truthful information with respect to Nikola’s financial
26   condition and results of operations, and to correct promptly any public statements issued
27   by the Company which had become materially false or misleading.
28
                                          41
                    AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                           OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL        Document 5      Filed 09/21/20     Page 42 of 46




 1          81.     Because of their positions of control and authority as senior officers, the
 2   Individual Defendants were able to, and did, control the contents of the various reports,
 3   press releases and public filings which Nikola disseminated in the marketplace during the
 4   Class Period concerning the Company’s results of operations. Throughout the Class
 5   Period, the Individual Defendants exercised their power and authority to cause the
 6   Company to engage in the wrongful acts complained of herein. The Individual
 7   Defendants, therefore, were “controlling persons” of the Company within the meaning of
 8   Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful
 9   conduct alleged which artificially inflated the market price of Nikola securities.
10          82.    By reason of the above conduct, the Individual Defendants are liable
11   pursuant to Section 20(a) of the Exchange Act for the violations committed by the
12   Company.
13                                   PRAYER FOR RELIEF
14          WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for judgment
15   and relief as follows:
16          (a)    declaring this action to be a proper class action, designating plaintiff as Lead
17   Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal
18   Rules of Civil Procedure and designating plaintiff’s counsel as Lead Counsel;
19          (b)    awarding damages in favor of plaintiff and the other Class members against
20   all defendants, jointly and severally, together with interest thereon;
21          (c)    awarding plaintiff and the Class reasonable costs and expenses incurred in
22   this action, including counsel fees and expert fees; and
23          (d)    awarding plaintiff and other members of the Class such other and further
24   relief as the Court may deem just and proper.
25                                 JURY TRIAL DEMANDED
26          Plaintiff hereby demands a trial by jury.
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                   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL   Document 5     Filed 09/21/20   Page 43 of 46




 1         Dated: September 21, 2020
 2
 3                                         TIFFANY & BOSCO, P.A.

 4                                         By: /s/ Richard G. Himelrick
                                               Richard G. Himelrick
 5                                             Seventh Floor Camelback Esplanade II
                                               2525 E. Camelback Road
 6                                             Phoenix, AZ 85016
 7                                             Liaison Counsel for Plaintiff

 8
                                           THE ROSEN LAW FIRM, P.A.
 9                                         Phillip Kim
                                           Laurence M. Rosen
10                                         275 Madison Avenue, 40th Floor
                                           New York, NY 10016
11                                         Counsel for Plaintiff
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                AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                       OF THE FEDERAL SECURITIES LAWS
     Case 2:20-cv-01797-SPL      Document 5     Filed 09/21/20    Page 44 of 46




 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on September 21, 2020, the attached document was
 3   electronically transmitted to the Clerk of the Court using the CM/ECF System which will
 4   send notification of such filing and transmittal of a Notice of Electronic Filing to all
 5   CM/ECF registrants.
 6                                            /s/_Shelley Boettge______
 7                                            Shelley Boettge

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                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                         OF THE FEDERAL SECURITIES LAWS
                Case 2:20-cv-01797-SPL        Document 5      Filed 09/21/20      Page 45 of 46

Certification and Authorization of Named Plaintiff Pursuant
to Federal Securities Laws
The individual or institution listed below (the "Plaintiff") authorizes and, upon execution
of the accompanying retainer agreement by The Rosen Law Firm P.A., retains The Rosen
Law Firm P.A. to file an action under the federal securities laws to recover damages and
to seek other relief against Nikola Corporation. The Rosen Law Firm P.A. will prosecute
the action on a contingent fee basis and will advance all costs and expenses. The
Nikola Corporation. Retention Agreement provided to the Plaintiff is incorporated by
reference, upon execution by The Rosen Law Firm P.A.

 First name:          DANIEL
 Middle initial:
 Last name:           BORTEANU
 Address:            Redacted
 City:
 State:
 Zip:
 Country:
 Facsimile:
 Phone:
 Email:

Plaintiff certifies that:

1. Plaintiff has reviewed the complaint and authorized its filing.
2. Plaintiff did not acquire the security that is the subject of this action at the direction
   of plaintiff's counsel or in order to participate in this private action or any other
   litigation under the federal securities laws.
3. Plaintiff is willing to serve as a representative party on behalf of a class, including
   providing testimony at deposition and trial, if necessary.
4. Plaintiff represents and warrants that he/she/it is fully authorized to enter into and
   execute this certification.
5. Plaintiff will not accept any payment for serving as a representative party on behalf
   of the class beyond the Plaintiff's pro rata share of any recovery, except such
   reasonable costs and expenses (including lost wages) directly relating to the
   representation of the class as ordered or approved by the court.
6. Plaintiff has made no transaction(s) during the Class Period in the debt or equity
   securities that are the subject of this action except those set forth below:

Acquisitions:

   Type of Security              Buy Date           # of Shares       Price per Share
   Common Stock                  09/08/2020         180               54.16
   Common Stock                  09/09/2020         100               46.12


Sales:

   Type of Security              Sale Date          # of Shares       Price per Share

   Common Stock                  09/10/2020         280               39.81
             Case 2:20-cv-01797-SPL         Document 5      Filed 09/21/20    Page 46 of 46



Certification for DANIEL BORTEANU (cont.)



7. I have not served as a representative party on behalf of a class under the federal
   securities laws during the last three years, except if detailed below.

   BORTEANU

I declare under penalty of perjury, under the laws of the
United States, that the information entered is accurate:              YES

By clicking on the button below, I intend to sign and execute
this agreement and retain the Rosen Law Firm, P.A. to
proceed on Plaintiff's behalf, on a contingent fee basis.             YES

Signed pursuant to California Civil Code Section 1633.1, et seq. - and the Uniform
Electronic Transactions Act as adopted by the various states and territories of the
United States.

Date of signing: 09/15/2020
